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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00044-SAB
12                                 Plaintiff,             FINDINGS AND ORDER EXTENDING TIME FOR
                                                          PRELIMINARY HEARING PURSUANT TO RULE
13                           v.                           5.1(d) AND EXCLUDING TIME
14   JOSE FIGUEROA &                                      DATE: April 9, 2020
     JOAQUIN VELASCO,                                     TIME: 2:00 p.m.
15                                                        COURT: Hon. Erica P. Grosjean
                                  Defendants.
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            The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
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     Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on April 3, 2020. The
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     Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,
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     demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule
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     5.1(d) of the Federal Rules of Criminal Procedure.
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            Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests
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     of justice served by granting this continuance outweigh the best interests of the public and the defendant
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     in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would
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     not adversely affect the public interest in the prompt disposition of criminal cases.
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      [PROPOSED] FINDINGS AND ORDER                        1
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 1         THEREFORE, FOR GOOD CAUSE SHOWN:

 2         1.       The date of the preliminary hearing is extended to April 23, 2020, at 2:00 p.m.

 3         2.       The time between April 9, 2020, and April 23, 2020, shall be excluded from calculation

 4 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 5         3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

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     IT IS SO ORDERED.
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 8     Dated:      April 3, 2020                              /s/
                                                      UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] FINDINGS AND ORDER                      2
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